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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                               Clerk's Office − Trenton, NJ


  THE INDEPENDENCE PROJECT,
  INC. , et al.
                                             Plaintiff,
  v.                                                      Case No.:
                                                          3:15−cv−08448−FLW−LHG
                                                          Judge Freda L. Wolfson
  HAZBRO REALTY, INC.
                                             Defendant.

           60 DAY ORDER ADMINISTRATIVELY TERMINATING ACTION


       It having been reported to the Court that the above−captioned action has been settled,
       IT IS on this 6th day of February, 2018,
      ORDERED that this action and any pending motions are hereby administratively
  terminated; and it is further
     ORDERED that this shall not constitute a dismissal Order under the Federal Rules of
  Civil Procedure; and it is further
      ORDERED that within 60 days after entry of this Order (or such additional period
  authorized by the Court), the parties shall file all papers necessary to dismiss this action
  under the Federal Rules of Civil Procedure or, if settlement cannot be consummated,
  request that the action be reopened; and it is further
      ORDERED that, absent receipt from the parties of dismissal papers or a request to
  reopen the action within the 60−day period, the Court shall dismiss this action, without
  further notice, with prejudice and without costs.




                       /s/ Freda L. Wolfson
                       ____________________________________________________
                       FREDA L. WOLFSON United States District Judge
